Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 1 of 28




                          EXHIBIT F.4
Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 2 of 28




 Gross Reservoir Expansion Project

 MEETING AGENDA & MINUTES

  Meeting Title:     Boulder County and Denver        Date/Time:           02/03/2021 2 p.m.
                     Water Facilities Coordination
                     Meeting
  Prepared By:       M. Brasfield/A. Denault          Location:            Online - Teams

  Reviewed By:       Denver Water                     Project #/File #:    Docket SI-20-0003 1041
                                                                           Permit Application for GRE
                     Boulder County review
                                                                           Project
                     pending

 Meeting Summary:
 Boulder County Planning and Permitting staff met with Denver Water staff to discuss facilities planning
 and permitting, in order facilitate a common understanding of timelines and expectations related to
 facilities permitting and address questions raised in Denver Water’s 1041 permit application to the County
 for the Gross Reservoir Expansion (GRE) Project.

                                                 Attendees
                    Travis Bray – Denver Water               Mike Thomas – Boulder County
                   Ashley Denault – Denver Water             Conrad Lattes – Boulder County
                     Doug Raitt – Denver Water                Amy Willits – Boulder County
                 Melissa Brasfield – Denver Water              Ron Flax – Boulder County
                                                              Bob Keipe – Boulder County

 Action Items:
     • Denver Water will look into fire protection requirements in the temporary field offices and will look
         into retaining someone who can help develop those plans.
     • Denver Water will provide a detailed list and description of facilities/structures and what we think
         permit application materials might include to County building staff.
     • After this list is complete, Boulder County and Denver Water will have a Building Permit pre-
         application meeting.
     • Denver Water will add tree thinning around roads used for construction as a topic for future
         discussions with the County Wildfire Team and will reach out to U.S. Forest Service as well for
         these discussions.
     • Denver Water will reach out to the contacts Mike Thomas provided and engage with them to help
         develop temporary recreation plans.
     • The County will look into how the state regulates structures such as the HPU building
     • The County will look into whether there are building code requirements for the Tower Crane, as
         there are not any local amendments for these cranes.
     • Denver Water will develop a named and numbered site plans as one of their first deliverables to
         the County building department for permit application tracking purposes.
     • Denver Water will work with other parties involved in permitting to ensure all involved understand
         the electronic portal and process.
Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 3 of 28




 Notes:

 Temporary Field Offices
    • Doug outlined temporary field office plans and noted Denver Water heard and understands
       Boulder County concerns about ADA/accessibility, wind/snow loads, and fire protection.
    • Ron confirmed the entire site is Zone 1 Wildfire Zone. Denver Water has had conversations with
       Coal Creek Canyon Fire Protection District and is working with them in this process as well.
    • Discussion ensued around sprinkler systems in the field offices; Ron noted the County usually
       requires sprinkler systems in these units. Doug said he would investigate proposed fire protection
       measures.

 Aggregate Crushing Plant
    • Doug provided an overview of what the plant could look like and how it would operate. He also
       identified areas where Denver Water is aware the County will require a permit. Occupied
       structures and retaining walls will be County focus for the plant.
    • Other discussion included how facilities would be powered. Denver Water is planning to use
       electrical power from Xcel but plan to have backup generators. Ron noted the County will also
       want to look at generators on site.

 Concrete Batch Plants
    • Doug went over plans for two, co-located concrete batch plants and what they will look like,
       rationale for two plants (due to production of two types of concrete), and components of the
       plants needed for production.
    • Amy noted the County had questions around the concrete guppies.
            o Doug responded that they are associated with concrete production and are intermediate
                storage on site. There will be 1-3 depending on needs and will be parked/stored around
                the batch plant.

 Materials Lab
    • Doug discussed the planned Materials Lab, which will be a permanent structure. The lab will test
        for materials coming out of the aggregate crushing and concrete batch plants. The design is not
        started yet, but the building will include a small water/wastewater treatment facility. The materials
        lab is one of the earlier planned facilities.
             o Ron noted this building could likely require a floodplain development permit.
             o Doug said this will be noted in the floodplain meeting scheduled for Feb. 8 with Boulder
                 County Floodplain Program.

 Headquarters and Caretakers’ Quarters
    • Doug discussed planned change to Gross Reservoir Headquarters – primarily security-related
       improvements – and noted that, although there are no changes planned to caretakers’ quarters
       there is a question about tree thinning around the quarters.
           o Ron noted fences over 8’ high will require a permit and suggested discussing tree
                thinning with the County wildfire team.

 Recreation Facilities
    • Doug outlined temporary recreation changes, including closing boating access at Osprey Point
        and potential temporary recreation improvements at the North Shore, including potential changes
        to parking, restrooms, and the boat house. Currently, this change is planned for April 2022.
    • Discussion ensued around North Shore resident concerns about the current recreation situation,
        particularly around parking overflow.
            o Mike said Lakeshore Drive residents have been in contact with him/his department about
                 recreation usage and traffic.
Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 4 of 28




             o    Melissa and Ashley noted Denver Water has received a lot of the same feedback, which
                  will be incorporated into recreation plans that are in development. Some ideas include “lot
                  spot” technology and parking lot modifications.
             o Mike provided a list of people to connect with as Denver Water conducts outreach on this
                  topic.
     •   Attendees also discussed permanent recreation facilities, noting the focus is on preserving the
         current level and experience. Travis noted Denver Water has been working with Miramonte and is
         hoping to work with the County. These changes will also allow for efficiency improvements, e.g.,
         parking lot redesign.

 Dam Surface Prep
    • Doug provided an overview of hydro blasting, used to prep the dam.
           o Ron asked if the process was loud and noted Denver Water will want to make sure the
              public is aware of the process.

 Dam Control (HPU) Building
    • Doug discussed the function of the HPU building and raised the question of how the building
       should be permitted since it is not regularly occupied and may be considered part of the dam.
          o Ron noted we will need to look into how the state regulates these structures.

 Design Criteria
    • Doug highlighted current design criteria, which accounts for wind gusts of up to 170 mph and a
        ground snow load of up to 50 lbs/sq.ft.

 Tower Cranes
    • Ron noted there aren’t any local amendments for these cranes and was unsure if they were
        covered in the building code.

 County Permitting Requirements
    • Doug went over the county requirements as we understand them.
           o Ron noted that the permitting system will put all applications in under a single address
               and therefore would like to have a unified site plan that lists and numbers all buildings up
               front, so things don’t get tangled in the permitting system.

 Anticipated Schedule
    • Doug presented Denver Water’s current schedule and noted some items that will be sent to
        FERC require Boulder County review. These plans will also be discussed in the 1041 permit
        application responses. Doug also noted FERC has mandated a construction start date in 2022
        and in order to hit that milestone there are a number of things that will need to be completed by
        the end of 2021. Denver Water currently anticipates the first quarter of 2022 will be the most
        active time for permitting based on our current timeline.
               Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 5 of 28




Gross Reservoir
Expansion Project –
On-site Facilities

Feb. 3, 2021
                     Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 6 of 28




Safety Moment – Look for Mobile Equipment Blind Spots
A blind spot is the area around a vehicle or piece of
construction equipment that is not visible to operators,
either by direct line-of sight or indirectly by use of
internal and external mirrors.
•   Always try to walk on the driver side of equipment as
    the passenger side has a larger blind spot.
•   Wear high visibility clothing and Personal Protective
    Equipment
•   Many times when workers think they can be seen by
    the operators of heavy equipment they can’t. You
    may be in a blind spot or the operator has been
    driving is a designated travel path for a period of time
    and the only thing that has changed is you!!!!! Make
    eye contact with operators
                Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 7 of 28




Purpose of the Meeting

To facilitate a common understanding across stakeholders of
timelines and expectations relating to facilities permitting.


What we have heard:
• All occupied facilities require Boulder County permitting.
• The scope and timing of the permit application process is important for
  Boulder County to understand the resource demands on the County.
Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 8 of 28




                                 Agenda
                                 • Introductions
                                 • Timeline overview
                                 • Topics:
                                     •    Temporary Occupied Facilities
                                     •    Aggregate crushing and concrete batch plant
                                     •    Recreation Facilities
                                     •    Permanent Occupied Facilities
                                     •    Facilities related to construction infrastructure
                                     •    Wind and Snow load expectations
                                     •    Building permit applications - scope and process
                                     •    Schedule

                                 • Discussion
                    Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 9 of 28




Housekeeping
• Please turn on your cameras.
• We will go topic by topic with time for larger discussion between each…
• But let us know if you have a question:
  •   Drop them in the chat.
  •   Use the “Raise Hand” function.
  •   Jump in!
           Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 10 of 28




Introductions


                                HELLO
                                 my name is
                Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 11 of 28




Gross Reservoir Expansion Site
Facilities
1. Temporary Offices
                                                                                                              5
2. Crushing plant
3. Batch Plants                                                                                               6
                                                                                                          3
4. Materials Lab
5. North Shore Recreation                                                                             1
6. Dam Control Building                                                                                           4

7. Multiple field trailers for                                                                    2
   operations and inspection
   personnel around the site
                  Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 12 of 28




Temporary Field Offices for Construction
Central Field Office for Staff located ½
mile from dam:
• ADA access provided.
• Wind and snow load.
• Foundation requirements.
• Ignition resistant covering.
• OWTS requirements.
• Fire protection requirements.
• Defensible space.
Any feedback on the plan above?
                                                          Example of field offices: Denver Water Northwater Treatment Plant
                                                          Construction Field Office Complex.
                  Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 13 of 28




Aggregate Crushing Plant
Crushing Plant for production of concrete sand and
aggregates:
• Erosion controls for disturbed ground.
• Temporary foundations.
• Dust suppression equipment.
• On site power generation.
• Portable control room.
• Field office for staff.
• Field lab for material testing.
• Portable restrooms.
Any feedback on the plan above?
                                                                           Crushing Plant Schematic Arrangement
                     Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 14 of 28




Concrete Batch Plants
Concrete batch plants (2) for production of on-site
batched concrete:
• Erosion controls for disturbed ground.
•   Roller compacted concrete batch plant.
• Conventional concrete batch plant.
•   Dust suppression equipment.
•   Portable control room.
•   Ice plant, chiller and aggregate cooling plant.
•   Electrical power supply with backup generator.
•   Area lighting.
•   Portable restrooms.
Any feedback on the plan above?                                                 Concrete Batch Plant Schematic Arrangement
                Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 15 of 28




Materials Lab and Future Maintenance Facility

Materials Lab for Dam Construction
Support:
• Aggregate and concrete testing.
• Cure room for concrete cylinders.
• Office for supervisor.
• Potable water treatment equipment
  – raw water from reservoir.
• On-site wastewater treatment
  system.
Any feedback on the plan above?
              Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 16 of 28




Gross Reservoir Headquarters Improvements
Security Improvements:
• New perimeter fencing.
• New motorized gates (3).
• Electrical and
  communications
  modifications.
                 Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 17 of 28




Gross Reservoir Caretakers Quarters

• No structural changes.
• SI-20-0003 Building Safety &
  Inspection Services Team (Boulder
  County) comment posted 10/19/20:
  “Wildfire mitigation in the area
  surrounding all structures will be
  required”.
• Thinning within 30-ft of roadway
  required.
• Thinning within 150-ft of roadway                   Denver Water Headquarters and Caretaker Housing
  recommended.
                  Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 18 of 28




Temporary North Shore Recreation
Osprey Point Boat Ramp closes during
dam construction:
• New parking area on North Shore
  peninsula prior to closure Q1/2 2022.
• Existing vault toilet facility.
• Access allowed for watercraft
  drop off and pickup.
• Boat house remains until
  inundation.
Any feedback on the plan
above?                                                                                              New Parking Area
                Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 19 of 28




Permanent Recreation Features
• Constructed after site reclamation.
• Restrooms – vault toilets.
• Picnic shelters.
• Parking.
• ADA design requirements.
• No increase in site capacity from
  current facility.
• Possible boat house/ranger station
  facility (future).
Any feedback on the plan above?
                                                                  Concept Recreation Improvements (partial) – EIS Documents
                Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 20 of 28




Dam Surface Preparation - Hydro Blasting
Hydro blasting of dam face required early in
dam construction process:
• Cuttings removed during blasting process.
• Process water recycled.
                 Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 21 of 28




Dam Control (HPU) Building Replacement
Machinery and Controls for Dam
Operations:
• Located on top of raised dam.
• Diesel powered generator.
• Hydraulic system controls.
• Heating and ventilation equipment.
• Electrical power distribution
  equipment.
• Restricted access, hardened for
  security, surveillance systems.
Any feedback on the plan above?
               Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 22 of 28




Gross Reservoir – Design Criteria
• Ultimate Velocity Wind Load
  (Vult ) = 170 mph
               Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 23 of 28




Gross Reservoir – Design Criteria
Ground Snow Load at
Gross Reservoir 50 lbs./sf
               Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 24 of 28




Tower Cranes
Tower Cranes (2) will be
employed on the project
for hoisting:
• Wind loading per local
  code.
• Foundation designed
  by PE.
Any feedback on the
information above?
                 Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 25 of 28




Boulder County Building Permit Requirements

• Boulder County has adopted the 2015 I-Codes with the Boulder County Building
  Code (BCBC) amendments (Updated October 10, 2017).
• Per International Building Code section 3103.1.1, temporary structures and uses
  shall conform to the structural strength, fire safety, means of egress, accessibility,
  light, ventilation and sanitary requirements of this code as necessary to ensure public
  health, safety and general welfare.
• Temporary structures must demonstrate compliance to Boulder County Building
  Code amendment section 108 and IBC section 3103.
• Separate structures, independently supported, require separate permits.
• Fire Protection District must provide documentation to Boulder County indicating
  approval of the plans and specifications of commercial projects before the building
  permit can be issued.
                Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 26 of 28




Boulder County Building Permit Requirements

• Use IBC Table 1604.5 Risk Category II for all occupied structures. Propose
  Risk category I for non-occupied storage facilities.
• Address required for each permit application.
• Soils report for foundation structures. Soil density will be required to be
  confirmed by a Colorado licensed engineer prior to concrete placement or
  structural anchor acceptance.
• Variance requests go to Head Building Official before Building Permit
  application.
• New building permit applications will be made through Boulder County’s on-
  line portal.
                   Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 27 of 28




 Anticipated Schedule
     2020                 2021                          2022                                   2022-2028
 FERC Order           FERC plans                 FERC Order                    • Site mobilization
  received            finalized and               mandates
                        submitted              construction begin              • Dam surface prep, Materials Lab,
                                                                                 early site grading
                                                                               • Site development, road
1041 application    1041 application                                             improvements, temp rec facilities
  submitted to         review and
Boulder County     decision (anticipate                                        • Quarrying operations
                          Aug.)                                                • Dam foundation excavation,
                                                                                 grouting, plant setup

                                                 Receive Boulder               • Dam raise
                     Begin Boulder               County building               • Forestry activities/tree clearing
                     County building             permits (prior to
                     permit process              July 2022 FERC                • First fill
                    (Anticipate Aug.)                deadline)
               Case 1:21-cv-01907-RBJ Document 1-10 Filed 07/14/21 USDC Colorado Page 28 of 28




Discussion
• Did we answer the questions you had?
• Is there any other feedback you have for us?
• Based on the presentation today, is there anyone else we should talk
  with?




Future Discussion Topics:
• Floodplain Management - 2/8/21 at 11 a.m.
• Tree Removal and Haul Routes Planning - 2/10/21 at 2 p.m.
